                    Case 23-09284                  Doc 1           Filed 07/18/23 Entered 07/18/23 11:40:44                             Desc Main
                                                                     Document Page 1 of 53
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Northern District of Illinois


 Case number (if known):                                            Chapter       11                                                    ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              TGL Capital Holdings LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8      5 – 4     2   5    9    2     5   3
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                  6907 Latrobe Ave
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                  Skokie, IL 60077-3417
                                                  City                                     State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                  Cook                                                          Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ✔
                                                  ❑      Other. Specify:        Limited Liability Company




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Debtor      TGL Capital Holdings LLC                                                                             Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    5     3   1   1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




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Debtor        TGL Capital Holdings LLC                                                                          Case number (if known)
             Name


  11. Why is the case filed in this      Check all that apply:
      district?
                                         ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ❑
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have        ✔ No
                                         ❑
      possession of any real
      property or personal property
                                         ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
      attention?                                   ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?


                                                   ❑     It needs to be physically secured or protected from the weather.
                                                   ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                         options).
                                                   ❑     Other
                                                   Where is the property?
                                                                              Number         Street




                                                                              City                                           State       ZIP Code
                                                   Is the property insured?
                                                   ❑ No
                                                   ❑ Yes.        Insurance agency
                                                                 Contact name
                                                                 Phone

          Statistical and administrative information

         13. Debtor’s estimation of      Check one:
             available funds?            ✔ Funds will be available for distribution to unsecured creditors.
                                         ❑
                                         ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                            creditors.

         14. Estimated number of
                                          ✔
                                          ❑    1-49 ❑ 50-99                  ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                    ❑    100-199 ❑      200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets             ❑    $0-$50,000                       ✔
                                                                                ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                          ❑    $50,001-$100,000                 ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                          ❑    $100,001-$500,000                ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                          ❑    $500,001-$1 million              ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
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Debtor        TGL Capital Holdings LLC                                                                              Case number (if known)
             Name



                                            ❑    $0-$50,000                            ✔
                                                                                       ❑   $1,000,001-$10 million                  ❑   $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                 ❑   $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                ❑   $10,000,000,001-$50 billion
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million               ❑   More than $50 billion



           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     07/18/2023
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Joe Zivkovic                                                     Printed name
                                                                                                                                              Joe Zivkovic
                                                    Signature of authorized representative of debtor


                                                    Title                        Manager



         18. Signature of attorney
                                                ✘                      /s/ David P Leibowitz                           Date      07/18/2023
                                                                                                                                 MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     David P Leibowitz
                                                    Printed name

                                                     Law Offices of David P. Leibowitz, LLC
                                                    Firm name

                                                     3478 N Broadway St Unit 234
                                                    Number          Street


                                                     Chicago                                                              IL              60657-6968
                                                    City                                                                 State            ZIP Code



                                                     (312) 662-5750                                                        dleibowitz@lakelaw.com
                                                    Contact phone                                                         Email address



                                                     1612271                                                               IL
                                                    Bar number                                                            State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                                                                   Document Page 5 of 53
 Fill in this information to identify the case:

 Debtor name                           TGL Capital Holdings LLC

 United States Bankruptcy Court for the:
                                Northern District of Illinois


 Case number (if known):                                                                                                            ❑ Check if this is an
                                                                                                                                       amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of debtor's
                                                                                                                                        interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                 Type of account               Last 4 digits of account number
       3.1 US Bank                                                      Checking account                      306                                       $1,000.00

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                         $1,000.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                        Current value of debtor's
                                                                                                                                        interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                       page 1
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Debtor        TGL Capital Holdings LLC                                                                           Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                             $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:                                      -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts



         11b. Over 90 days old:                                         -                                           = ...... ➔
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                             $0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
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Debtor       TGL Capital Holdings LLC                                                                    Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                     $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                Date of the last        Net book value of   Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest   for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                       $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.


Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                   page 3
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Debtor       TGL Capital Holdings LLC                                                                    Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ✔ No. Go to Part 8.
         ❑
         ❑ Yes. Fill in the information below.



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
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Debtor       TGL Capital Holdings LLC                                                                    Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         None


  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         None


  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                                     $0.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         None


  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
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             Name



         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                         $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

                Condominium Apartment Building                  Fee Simple                  (Unknown)       Appraisal                           $6,700,000.00
              2212 W Lawrence Avenue Chicago, IL
         55.1 60625

  56. Total of Part 9
                                                                                                                                                $6,700,000.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ❑ No
         ✔ Yes
         ❑
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ❑ No
         ✔ Yes
         ❑


 Part 10: Intangibles and Intellectual Property


Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
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Debtor       TGL Capital Holdings LLC                                                                    Case number (if known)
             Name



  59. Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of   Valuation method used      Current value of debtor's
                                                                                   debtor's interest   for current value          interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                     $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
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Debtor        TGL Capital Holdings LLC                                                                   Case number (if known)
             Name



                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
                       Case 23-09284                      Doc 1            Filed 07/18/23 Entered 07/18/23 11:40:44                                             Desc Main
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Debtor        TGL Capital Holdings LLC                                                                                               Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                 $1,000.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                      $0.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                                $0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $0.00


                                                                                                                                ➔                   $6,700,000.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                     $1,000.00        + 91b.                $6,700,000.00



                                                                                                                                                                            $6,701,000.00
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                                   page 9
                 Case 23-09284                    Doc 1          Filed 07/18/23 Entered 07/18/23 11:40:44                                          Desc Main
                                                                  Document Page 14 of 53
 Fill in this information to identify the case:

     Debtor name     TGL Capital Holdings LLC

     United States Bankruptcy Court for the:                 Northern                District of             Illinois
                                                                                                   (State)
     Case number (if known):                                                                                                                           ❑   Check if this is an
                                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑   No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔
       ❑   Yes. Fill in all of the information below.

     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                             Column A                       Column B
        than one secured claim, list the creditor separately for each claim.                                                 Amount of claim                Value of collateral
                                                                                                                             Do not deduct the value        that supports this
                                                                                                                             of collateral.                 claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                             $30,258.00                unknown
         American Stone Surface
         Incorporated

        Creditor’s mailing address


         7432 N Oakley Ave - Apt 1A                          Describe the lien
                                                             Mechanic's Lien
         Chicago, IL 60645-5700
                                                             Is the creditor an insider or related party?
        Creditor’s email address, if known
                                                             ✔
                                                             ❑   No
                                                             ❑   Yes
        Date debt was
                                                             Is anyone else liable on this claim?
        incurred
                                                             ✔
                                                             ❑   No
        Last 4 digits of                                     ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        account
        number                                               As of the petition filing date, the claim is:
                                                             Check all that apply.
        Do multiple creditors have an interest
        in the same property?
                                                             ❑   Contingent
                                                             ✔
                                                             ❑
        ✔
                                                                 Unliquidated
        ❑   No
                                                             ✔
                                                             ❑   Disputed
        ❑   Yes. Specify each creditor, including this
                 creditor, and its relative priority.




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                               $5,708,497.79
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 8
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Debtor     TGL Capital Holdings LLC                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                   Column B
                                                                                                                        Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value    that supports this
 from the
                                                                                                                        of collateral.             claim
 previous page.

2.2 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $600.76            unknown
      City of Chicago

     Creditor’s mailing address
      Department of Finance
      Po Box 88282
                                                        Describe the lien
      Chicago, IL 60680-1282
                                                        statutory lien - water bill
     Creditor’s email address, if known
                                                        Is the creditor an insider or related party?
                                                        ✔
                                                        ❑   No
     Date debt was                                      ❑   Yes
     incurred
                                                        Is anyone else liable on this claim?
     Last 4 digits of               5   8    9   8      ✔
                                                        ❑   No
     account                                            ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest             Check all that apply.
     in the same property?
                                                        ❑   Contingent
     ✔
     ❑   No
                                                        ❑   Unliquidated
     ❑   Yes. Have you already specified the
                                                        ❑   Disputed
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 8
               Case 23-09284                  Doc 1         Filed 07/18/23 Entered 07/18/23 11:40:44                                          Desc Main
                                                             Document Page 16 of 53
Debtor     TGL Capital Holdings LLC                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.3 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $17,960.34            unknown
      Kitchen & Bath Direct, Inc.

     Creditor’s mailing address
      Erick Piatkowski
      3977 25th Ave
                                                        Describe the lien
      Schiller Park, IL 60176-2176
                                                        Mechanic'sLien
     Creditor’s email address, if known
                                                        Is the creditor an insider or related party?
                                                        ✔
                                                        ❑   No
     Date debt was                                      ❑   Yes
     incurred
                                                        Is anyone else liable on this claim?
     Last 4 digits of                                   ✔
                                                        ❑   No
     account                                            ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest             Check all that apply.
     in the same property?
                                                        ❑   Contingent
     ✔
     ❑                                                  ✔
         No
                                                        ❑   Unliquidated
     ❑   Yes. Have you already specified the            ✔
                                                        ❑   Disputed
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 8
               Case 23-09284                  Doc 1         Filed 07/18/23 Entered 07/18/23 11:40:44                                          Desc Main
                                                             Document Page 17 of 53
Debtor     TGL Capital Holdings LLC                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.4 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $37,881.85            unknown
      Light the Power, Ltd.

     Creditor’s mailing address
      BENIAMIN I GARNEATA
      6738 N Sauganash Ave
                                                        Describe the lien
      Lincolnwood, IL 60712-3032
                                                        Mechanic's Lien
     Creditor’s email address, if known
                                                        Is the creditor an insider or related party?
                                                        ✔
                                                        ❑   No
     Date debt was                                      ❑   Yes
     incurred
                                                        Is anyone else liable on this claim?
     Last 4 digits of                                   ✔
                                                        ❑   No
     account                                            ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest             Check all that apply.
     in the same property?
                                                        ✔
                                                        ❑   Contingent
     ✔
     ❑                                                  ✔
         No
                                                        ❑   Unliquidated
     ❑   Yes. Have you already specified the            ✔
                                                        ❑   Disputed
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 8
               Case 23-09284                  Doc 1         Filed 07/18/23 Entered 07/18/23 11:40:44                                           Desc Main
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Debtor     TGL Capital Holdings LLC                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                       Column B
                                                                                                                        Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value        that supports this
 from the
                                                                                                                        of collateral.                 claim
 previous page.

2.5 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $325,000.00       $6,700,000.00
      Oxford Lawrence LLC
                                                        Condominium Apartment Building
     Creditor’s mailing address
                                                        Describe the lien
      Po Box 589
      Winnetka, IL 60093-0589
                                                        Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                        ✔
                                                        ❑   No
                                                        ❑   Yes

     Date debt was                                      Is anyone else liable on this claim?
     incurred                                           ✔
                                                        ❑   No

     Last 4 digits of                                   ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                        As of the petition filing date, the claim is:
     number
                                                        Check all that apply.
     Do multiple creditors have an interest             ❑   Contingent
     in the same property?                              ❑   Unliquidated
     ❑   No                                             ✔
                                                        ❑   Disputed
     ✔
     ❑   Yes. Have you already specified the
              relative priority?
         ✔
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.
                   1) RFLF 3, LLC; 2) Oxford
                   Lawrence LLC
         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 8
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Debtor     TGL Capital Holdings LLC                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.6 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $25,000.00            unknown
      Podraduc35 Development LLC

     Creditor’s mailing address


      3841 N Lincoln Ave
                                                        Describe the lien
      Chicago, IL 60613-6789
                                                        Mechanic's Lien
     Creditor’s email address, if known
                                                        Is the creditor an insider or related party?
                                                        ✔
                                                        ❑   No
     Date debt was                                      ❑   Yes
     incurred
                                                        Is anyone else liable on this claim?
     Last 4 digits of                                   ✔
                                                        ❑   No
     account                                            ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest             Check all that apply.
     in the same property?
                                                        ✔
                                                        ❑   Contingent
     ✔
     ❑                                                  ✔
         No
                                                        ❑   Unliquidated
     ❑   Yes. Have you already specified the            ✔
                                                        ❑   Disputed
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 6 of 8
               Case 23-09284                  Doc 1         Filed 07/18/23 Entered 07/18/23 11:40:44                                        Desc Main
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Debtor     TGL Capital Holdings LLC                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                   Column B
                                                                                                                        Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value    that supports this
 from the
                                                                                                                        of collateral.             claim
 previous page.

2.7 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                       $5,261,796.84       $6,700,000.00
      RFLF 3, LLC
                                                        Condominium Apartment Building
     Creditor’s mailing address
                                                        Describe the lien
      Mr. Kevin Werner
      222 W Adams St Suite 3150
                                                        Is the creditor an insider or related party?
      Chicago, IL 60606-5312
                                                        ✔
                                                        ❑   No
     Creditor’s email address, if known                 ❑   Yes

                                                        Is anyone else liable on this claim?
     Date debt was                                      ❑   No
     incurred                                           ✔
                                                        ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

     Last 4 digits of                                   As of the petition filing date, the claim is:
     account                                            Check all that apply.
     number
                                                        ❑   Contingent

     Do multiple creditors have an interest             ❑   Unliquidated
     in the same property?                              ✔
                                                        ❑   Disputed

     ❑   No
     ✔
     ❑   Yes. Have you already specified the
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ✔
         ❑    Yes. The relative priority of creditors
                   is specified on lines 2.5




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 7 of 8
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Debtor     TGL Capital Holdings LLC                                                                    Case number (if known)
          Name




  Part 1:         Additional Page                                                                                       Column A                      Column B
                                                                                                                        Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                        Do not deduct the value       that supports this
 from the
                                                                                                                        of collateral.                claim
 previous page.

2.8 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                             $10,000.00            unknown
      West Superior Realty, Inc.

     Creditor’s mailing address
      Frances Owoc
      2811 N 74th Ct
                                                        Describe the lien
      Elmwood Park, IL 60707-1815
                                                        Mechanic's Lien
     Creditor’s email address, if known
                                                        Is the creditor an insider or related party?
                                                        ✔
                                                        ❑   No
     Date debt was                                      ❑   Yes
     incurred
                                                        Is anyone else liable on this claim?
     Last 4 digits of                                   ✔
                                                        ❑   No
     account                                            ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest             Check all that apply.
     in the same property?
                                                        ✔
                                                        ❑   Contingent
     ✔
     ❑                                                  ✔
         No
                                                        ❑   Unliquidated
     ❑   Yes. Have you already specified the            ✔
                                                        ❑   Disputed
              relative priority?
         ❑    No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑    Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 8 of 8
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                    Case 23-09284                 Doc 1           Filed 07/18/23 Entered 07/18/23 11:40:44                         Desc Main
                                                                   Document Page 23 of 53
 Fill in this information to identify the case:

 Debtor name                           TGL Capital Holdings LLC

 United States Bankruptcy Court for the:
                                Northern District of Illinois


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                 Total claim               Priority amount

       Priority creditor’s name and mailing address              As of the petition filing date, the claim is:
2.1                                                              Check all that apply.
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
                                                                 Basis for the claim:
       Date or dates debt was incurred


                                                                 Is the claim subject to offset?
       Last 4 digits of account
                                                                 ❑ No
       number
                                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address              As of the petition filing date, the claim is:
2.2                                                              Check all that apply.
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
                                                                 Basis for the claim:
       Date or dates debt was incurred


                                                                 Is the claim subject to offset?
       Last 4 digits of account
                                                                 ❑ No
       number
                                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                          page 1 of 4
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Debtor        TGL Capital Holdings LLC                                                                        Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
       ComEd
                                                                            ❑ Contingent
       Po Box 6111                                                          ❑ Unliquidated
                                                                            ❑ Disputed
       Carol Stream, IL 60197-6111
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number         u   n   t    s
                                                                            ❑ Yes

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $17,960.34
                                                                            Check all that apply.
       Kitchen Bath Direct Inc
                                                                            ❑ Contingent
       2077 2th Ave                                                         ❑ Unliquidated
                                                                            ❑ Disputed
       Schiller Park, IL 60176
                                                                            Basis for the claim: contract
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $37,881.85
                                                                            Check all that apply.
       Light The Power
                                                                            ❑ Contingent
       7235 N. St. Louis Street                                             ❑ Unliquidated
                                                                            ❑ Disputed
       Skokie, IL 60076
                                                                            Basis for the claim: Contract
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
3.4                                                                         Check all that apply.
       Peoples Gas
                                                                            ❑ Contingent
       130 E Randolph St Ste 300                                            ❑ Unliquidated
                                                                            ❑ Disputed
       Chicago, IL 60601-6203
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number         0   0   3    5
                                                                            ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 4
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Debtor     TGL Capital Holdings LLC                                                                    Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $25,000.00
                                                                     Check all that apply.
      Podrucac 35 LLC
                                                                     ❑ Contingent
      3841 N Lincoln Ave                                             ❑ Unliquidated
                                                                     ❑ Disputed
      Chicago, IL 60613-6789
                                                                     Basis for the claim: contract
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred                                 ✔ No
                                                                     ❑
     Last 4 digits of account number
                                                                     ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              unknown
                                                                     Check all that apply.
      West Superior Realty                                           ✔ Contingent
                                                                     ❑
      2281 N 74th Ct
                                                                     ✔ Unliquidated
                                                                     ❑
                                                                     ❑ Disputed
      Elmwood Park, IL 60707
                                                                     Basis for the claim:
                                                                     Is the claim subject to offset?
     Date or dates debt was incurred                                 ✔ No
                                                                     ❑
     Last 4 digits of account number
                                                                     ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 4
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Debtor       TGL Capital Holdings LLC                                                             Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00




  5b. Total claims from Part 2                                                     5b.              $80,842.19
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $80,842.19
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                           page 4 of 4
                     Case 23-09284                Doc 1         Filed 07/18/23 Entered 07/18/23 11:40:44                          Desc Main
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 Fill in this information to identify the case:

 Debtor name                           TGL Capital Holdings LLC

 United States Bankruptcy Court for the:
                                Northern District of Illinois


 Case number (if known):                                        Chapter   11                                                      ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
2.1    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract


       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                        Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of 1
                Case 23-09284                     Doc 1      Filed 07/18/23 Entered 07/18/23 11:40:44                                Desc Main
                                                              Document Page 28 of 53
 Fill in this information to identify the case:

  Debtor name          TGL Capital Holdings LLC


  United States Bankruptcy Court for the:                 Northern           District of             Illinois

                                                                                                                                         ❑
                                                                                           (State)
  Case number (If known):
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔
        ❑     Yes

  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                     Column 2: Creditor

                                                                                                                                          Check all schedules
         Name                               Mailing address                                                     Name
                                                                                                                                          that apply:

         Zivkovic Family Holdings
 2.1     LLC - 1441                         6907 Latrobe Ave                                                    RFLF 3, LLC               ✔
                                                                                                                                          ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G

                                            Skokie, IL 60077-3417
                                            City                  State                     ZIP Code

 2.2     Zivkovic, Deanna Elizabeth         6907 Latrobe Ave                                                    RFLF 3, LLC               ✔
                                                                                                                                          ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G

                                            Skokie, IL 60077-3417
                                            City                  State                     ZIP Code

 2.3     Zivkovic, Gabriella Josipa         2733 N. Power Rd. Suite 102                                         RFLF 3, LLC               ✔
                                                                                                                                          ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G

                                            Mesa, AZ 85215
                                            City                     State                  ZIP Code

 2.4     Zivkovic, Joe                      6907 Latrobe Ave                                                    RFLF 3, LLC               ✔
                                                                                                                                          ❑   D
                                            Street                                                                                        ❑   E/F
                                                                                                                                          ❑   G

                                            Skokie, IL 60077-3417
                                            City                  State                     ZIP Code




Official Form 206H                                                    Schedule H: Codebtors                                                         page 1 of    2
              Case 23-09284              Doc 1       Filed 07/18/23 Entered 07/18/23 11:40:44                           Desc Main
                                                      Document Page 29 of 53
Debtor      TGL Capital Holdings LLC                                                      Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.5     Zivkovic, Luka Edward        2733 N Power Rd Ste 102                                    RFLF 3, LLC                 ✔
                                                                                                                             ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G

                                      Mesa, AZ 85215-1683
                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑   D
                                      Street                                                                                 ❑   E/F
                                                                                                                             ❑   G


                                      City                   State             ZIP Code




Official Form 206H                                              Schedule H: Codebtors                                            page   2   of     2
                           Case 23-09284                            Doc 1               Filed 07/18/23 Entered 07/18/23 11:40:44                                                                 Desc Main
                                                                                         Document Page 30 of 53

 Fill in this information to identify the case:

 Debtor name                                         TGL Capital Holdings LLC

 United States Bankruptcy Court for the:
                                           Northern District of Illinois


 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                      $6,700,000.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                           $1,000.00

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $6,701,000.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $5,708,497.79



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                 $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +              $80,842.19




 4. Total liabilities..............................................................................................................................................................................                    $5,789,339.98

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
                        Case 23-09284                Doc 1         Filed 07/18/23 Entered 07/18/23 11:40:44                     Desc Main
                                                                    Document Page 31 of 53
 Fill in this information to identify the case:

 Debtor name                             TGL Capital Holdings LLC

 United States Bankruptcy Court for the:
                                   Northern District of Illinois


 Case number (if known):                                                                                                        ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ✔ None
         ❑
        Identify the beginning and ending dates of the debtor’s fiscal year, which          Sources of revenue                 Gross revenue
        may be a calendar year                                                              Check all that apply               (before deductions and
                                                                                                                               exclusions)

       From the beginning of the                                                           ❑ Operating a business
                                                                                           ❑ Other
       fiscal year to filing date:         From 01/01/2023          to    Filing date
                                                   MM/ DD/ YYYY


       For prior year:                     From 01/01/2022          to    12/31/2022       ❑ Operating a business
                                                   MM/ DD/ YYYY             MM/ DD/ YYYY
                                                                                           ❑ Other

       For the year before that:           From 01/01/2021          to    12/31/2021       ❑ Operating a business
                                                   MM/ DD/ YYYY             MM/ DD/ YYYY
                                                                                           ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                           Description of sources of revenue   Gross revenue from each
                                                                                                                               source
                                                                                                                               (before deductions and
                                                                                                                               exclusions)

      From the beginning of the
      fiscal year to filing date:         From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                     From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY             MM/ DD/ YYYY


      For the year before that:           From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY             MM/ DD/ YYYY




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
Debtor
                        Case 23-09284
                 TGL Capital Holdings LLC
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                                                                                            Case number (if known)
                 Name                                          Document Page 32 of 53
 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                        Dates              Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
        Street

                                                                                                               ❑ Other
        City                         State   ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                         State   ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 2
Debtor
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                                                                                             Case number (if known)
                 Name                                           Document Page 33 of 53
 5.1.
        Creditor's name


        Street




        City                         State    ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                         State    ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ✔ None
        ❑
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

                                                                                                                                              ❑ Pending
                                                                                        Name
                                                                                                                                              ❑ On appeal
         Case number                                                                    Street
                                                                                                                                              ❑ Concluded


                                                                                        City                         State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor
                         Case 23-09284
                  TGL Capital Holdings LLC
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                                                                                             Case number (if known)
                  Name                                          Document Page 34 of 53
 8.1.     Custodian’s name and address                     Description of the property                          Value


         Custodian’s name
                                                           Case title                                           Court name and address
         Street
                                                                                                               Name

                                                           Case number                                         Street
         City                         State    ZIP Code



                                                           Date of order or assignment                         City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                   Dates given          Value


         Recipient’s name


         Street




         City                         State    ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                            lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 4
Debtor
                         Case 23-09284
                  TGL Capital Holdings LLC
                                                  Doc 1        Filed 07/18/23 Entered 07/18/23  11:40:44 Desc Main
                                                                                             Case number (if known)
                  Name                                          Document Page 35 of 53
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred        Dates      Total amount or
                                                                                                                                   value

         Law Offices of David P. Leibowitz, LLC                 Attorney's Fee                                         7/18/2023           $2,750.00


          Address

         3478 N Broadway St Apt 234
         Street


         Chicago, IL 60657-6968
         City                         State   ZIP Code


          Email or website address

         dleibowitz@lakelaw.com

          Who made the payment, if not debtor?

         Debtor



 11.2.    Who was paid or who received the transfer?             If not money, describe any property transferred        Dates      Total amount or
                                                                                                                                   value

         The Golding Law Office PC                              Initial retainer                                       5/31/2023           $1,000.00


          Address

         161 N. Clark Street Suite 1700
         Street


         Chicago, IL 60601
         City                         State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Debtor



 11.3.    Who was paid or who received the transfer?             If not money, describe any property transferred        Dates      Total amount or
                                                                                                                                   value

         Law Offices of David P. Leibowitz LLC                  Initial payment                                        5/31/2023           $1,000.00


          Address

         3478 N Broadway St Apt 234
         Street
         David P. Leibowitz
         Chicago, IL 60657-6968
         City                         State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Debtor




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 5
Debtor
                         Case 23-09284
                  TGL Capital Holdings LLC
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                                                                                            Case number (if known)
                  Name                                         Document Page 36 of 53
 11.4.    Who was paid or who received the transfer?            If not money, describe any property transferred        Dates      Total amount or
                                                                                                                                  value

         Law Offices of David P. Leibowitz LLC                 Installment of retainer                                6/29/2023           $1,000.00


          Address

         3478 N Broadway St Apt 234
         Street
         David P. Leibowitz
         Chicago, IL 60657-6968
         City                         State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Debtor



 11.5.    Who was paid or who received the transfer?            If not money, describe any property transferred        Dates      Total amount or
                                                                                                                                  value

         Law Offices of David P. Leibowitz LLC                 Installment of retainer                                7/9/2023            $3,000.00


          Address

         3478 N Broadway St Apt 234
         Street
         David P. Leibowitz
         Chicago, IL 60657-6968
         City                         State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Debtor



 11.6.    Who was paid or who received the transfer?            If not money, describe any property transferred        Dates      Total amount or
                                                                                                                                  value

         The Golding Law Office PC                             Installment of retainer                                6/9/2023            $3,000.00


          Address

         161 N Clark St Ste 1700
         Street


         Chicago, IL 60601-3342
         City                         State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 6
Debtor
                         Case 23-09284
                  TGL Capital Holdings LLC
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                                                                                            Case number (if known)
                  Name                                         Document Page 37 of 53
 11.7.    Who was paid or who received the transfer?            If not money, describe any property transferred        Dates       Total amount or
                                                                                                                                   value

         The Golding Law Office PC                             Installment of retainer                                6/29/2023            $1,000.00


          Address

         161 N Clark St Ste 1700
         Street


         Chicago, IL 60601-3342
         City                         State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Debtor



 11.8.    Who was paid or who received the transfer?            If not money, describe any property transferred        Dates       Total amount or
                                                                                                                                   value

         The Golding Law Office PC                             Installment of retainer                                7./18/2023           $2,750.00


          Address

         161 N Clark St Ste 1700
         Street


         Chicago, IL 60601-3342
         City                         State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?




 11.9.    Who was paid or who received the transfer?            If not money, describe any property transferred        Dates       Total amount or
                                                                                                                                   value

         Law Offices of David P. Leibowitz LLC                 Filing fee                                             7/19/2023            $1,738.00


          Address

         3478 N Broadway St Apt 234
         Street
         David P. Leibowitz
         Chicago, IL 60657-6968
         City                         State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Debot




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 7
Debtor
                       Case 23-09284
                TGL Capital Holdings LLC
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                                                                                            Case number (if known)
                Name                                           Document Page 38 of 53

 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                        State    ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                           Dates of occupancy

 14.1.                                                                                                     From                       To
         Street




         City                        State    ZIP Code




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 8
Debtor
                         Case 23-09284
                TGL Capital Holdings LLC
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                                                                                              Case number (if known)
                Name                                             Document Page 39 of 53
 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                       Nature of the business operation, including type of services the         If debtor provides meals
                                                          debtor provides                                                          and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                          Location where patient records are maintained(if different from          How are records kept?
                                                          facility address). If electronic, identify any service provider.
         City                     State    ZIP Code                                                                               Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                          Has the plan been terminated?
                          ❑ No
                          ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ✔ None
         ❑
          Financial institution name and address            Last 4 digits of account     Type of account             Date account was          Last balance
                                                            number                                                   closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer


Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 9
Debtor
                        Case 23-09284
                 TGL Capital Holdings LLC
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                                                                                             Case number (if known)
                 Name                                           Document Page 40 of 53

 18.1                                                     XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
        Street
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
                                                                                        ❑ Other
        City                       State     ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑    No

                                                                                                                                                 ❑
        Name
                                                                                                                                                      Yes
        Street

                                                          Address

        City                       State     ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ✔ None
        ❑
 20.1    Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑    No

                                                                                                                                                 ❑
        Name
                                                                                                                                                      Yes
        Street

                                                          Address

        City                       State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
        leased or rented property.
        ✔ None
        ❑
         Owner’s name and address                                Location of the property                     Description of the property                   Value


        Name


        Street




        City                         State     ZIP Code




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Debtor
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 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                 Court or agency name and address                      Nature of the case                          Status of case

                                                                                                                                                     ❑ Pending
         Case number
                                                   Name
                                                                                                                                                     ❑ On appeal
                                                   Street
                                                                                                                                                     ❑ Concluded


                                                   City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                      Governmental unit name and address                    Environmental law, if known                 Date of notice


      Name                                         Name


      Street                                       Street




      City                   State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                      Governmental unit name and address                    Environmental law, if known                 Date of notice


      Name                                         Name


      Street                                       Street




      City                   State   ZIP Code      City                        State   ZIP Code




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 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                   Describe the nature of the business                         Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:         –
         Name
                                                                                                                  Dates business existed
         Street
                                                                                                                From                  To



         City                  State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                        Dates of service

 26a.1.
                                                                                                                  From                 To
          Name


          Street




          City                                            State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                        Dates of service

 26b.1.
                                                                                                                  From                 To
          Name


          Street




          City                                            State                  ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑




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            Name and address                                                                                         If any books of account and records are
                                                                                                                     unavailable, explain why
 26c.1.


           Name


           Street




           City                                                State               ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address

 26d.1.
           Name


           Street




           City                                                State               ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
           Name of the person who supervised the taking of the inventory                          Date of             The dollar amount and basis (cost, market, or
                                                                                                  inventory           other basis) of each inventory




           Name and address of the person who has possession of inventory records

 27.1.
          Name


          Street




          City                                         State            ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
           Name                              Address                                                       Position and nature of any          % of interest, if any
                                                                                                           interest

                                                                                                       ,

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
           Name                              Address                                                       Position and nature of any    Period during which
                                                                                                           interest                      position or interest was
                                                                                                                                         held




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                                                                                                       ,                                  From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name and address of recipient                                             Amount of money or description            Dates              Reason for providing
                                                                                    and value of property                                        the value


 30.1.
         Name


         Street




         City                                          State         ZIP Code


          Relationship to debtor



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the parent corporation                                                         Employer Identification number of the parent corporation

                                                                                                      EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ✔ No
         ❑
         ❑ Yes. Identify below.
                Name of the pension fund                                                               Employer Identification number of the pension fund

                                                                                                      EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on             07/18/2023
                        MM/ DD/ YYYY




    ✘ /s/ Joe Zivkovic                                                      Printed name                       Joe Zivkovic
           Signature of individual signing on behalf of the debtor



         Position or relationship to debtor              Manager



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    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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 Fill in this information to identify the case:

 Debtor name                           TGL Capital Holdings LLC

 United States Bankruptcy Court for the:
                                 Northern District of Illinois


 Case number (if known):                                                                                                                   ❑ Check if this is an
                                                                                                                                              amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,          Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of             (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                 debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                               professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                               services, and           or disputed      for value of collateral or setoff to calculate
                                                                               government                               unsecured claim.
                                                                               contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
1     American Stone Surface                                                   Mechanic's Lien         Disputed                                                    $30,258.00
      Incorporated                                                                                     Unliquidated
      7432 N Oakley Ave - Apt 1A
      Chicago, IL 60645-5700

2     City of Chicago                                                          statutory lien -                                                                      $600.76
      Department of Finance                                                    water bill
      Po Box 88282
      Chicago, IL 60680-1282

3     Kitchen & Bath Direct, Inc.                                              Mechanic'sLien          Disputed                                                    $17,960.34
      Erick Piatkowski                                                                                 Unliquidated
      3977 25th Ave
      Schiller Park, IL 60176-2176

4     Kitchen Bath Direct Inc                                                  contract                                                                            $17,960.34
      2077 2th Ave
      Schiller Park, IL 60176


5     Light The Power                                                          Contract                                                                            $37,881.85
      7235 N. St. Louis Street
      Skokie, IL 60076


6     Light the Power, Ltd.                                                    Mechanic's Lien         Contingent                                                  $37,881.85
      BENIAMIN I GARNEATA                                                                              Disputed
      6738 N Sauganash Ave                                                                             Unliquidated
      Lincolnwood, IL 60712-3032

7     Podraduc35 Development LLC                                               Mechanic's Lien         Contingent                                                  $25,000.00
      3841 N Lincoln Ave                                                                               Disputed
      Chicago, IL 60613-6789                                                                           Unliquidated



8     Podrucac 35 LLC                                                          contract                                                                            $25,000.00
      3841 N Lincoln Ave
      Chicago, IL 60613-6789



Official Form 204                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
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Debtor       TGL Capital Holdings LLC                                                                         Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     West Superior Realty, Inc.                                          Mechanic's Lien         Contingent                                               $10,000.00
      Frances Owoc                                                                                Disputed
      2811 N 74th Ct                                                                              Unliquidated
      Elmwood Park, IL 60707-1815

10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Illinois

In re        TGL Capital Holdings LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $21,738.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $17,238.00

        Balance Due ................................................................................................................................................      $4,500.00

2.                $1,738.00                 of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ✔
        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

        Feels will be shared with co-counsel Richard N. Golding of The Golding Law Offices, PC

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        07/18/2023                                             /s/ David P Leibowitz
                Date                                         David P Leibowitz
                                                             Signature of Attorney
                                                                                              Bar Number: 1612271
                                                                              Law Offices of David P. Leibowitz, LLC
                                                                                       3478 N Broadway St Unit 234
                                                                                            Chicago, IL 60657-6968
                                                                                             Phone: (312) 662-5750

                                                                      Law Offices of David P. Leibowitz, LLC
                                                            Name of law firm




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF ILLINOIS
                                                       EASTERN DIVISION (CHICAGO)

IN RE: TGL Capital Holdings LLC                                                       CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      07/18/2023            Signature                                   /s/ Joe Zivkovic
                                                                          Joe Zivkovic, Manager
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                            American Stone Surface
                            Incorporated
                            7432 N Oakley Ave - Apt 1A
                            Chicago, IL 60645-5700



                            City of Chicago
                            Department of Finance
                            Po Box 88282
                            Chicago, IL 60680-1282



                            ComEd
                            Po Box 6111
                            Carol Stream, IL 60197-6111




                            Kitchen & Bath Direct, Inc.
                            Erick Piatkowski
                            3977 25th Ave
                            Schiller Park, IL 60176-2176



                            Kitchen Bath Direct Inc
                            2077 2th Ave
                            Schiller Park, IL 60176




                            Light The Power
                            7235 N. St. Louis Street
                            Skokie, IL 60076




                            Light the Power, Ltd.
                            BENIAMIN I GARNEATA
                            6738 N Sauganash Ave
                            Lincolnwood, IL 60712-3032



                            Oxford Lawrence LLC
                            Po Box 589
                            Winnetka, IL 60093-0589
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                            Peoples Gas
                            130 E Randolph St Ste 300
                            Chicago, IL 60601-6203




                            Podraduc35 Development LLC
                            3841 N Lincoln Ave
                            Chicago, IL 60613-6789




                            Podrucac 35 LLC
                            3841 N Lincoln Ave
                            Chicago, IL 60613-6789




                            RFLF 3, LLC
                            Mr. Kevin Werner
                            222 W Adams St Suite 3150
                            Chicago, IL 60606-5312



                            West Superior Realty
                            2281 N 74th Ct
                            Elmwood Park, IL 60707




                            West Superior Realty, Inc.
                            Frances Owoc
                            2811 N 74th Ct
                            Elmwood Park, IL 60707-1815



                            Zivkovic Family Holdings LLC -
                            1441
                            6907 Latrobe Ave
                            Skokie, IL 60077-3417



                            Deanna Elizabeth Zivkovic
                            6907 Latrobe Ave
                            Skokie, IL 60077-3417
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                            Gabriella Josipa Zivkovic
                            2733 N. Power Rd. Suite 102
                            Mesa, AZ 85215




                            Joe Zivkovic
                            6907 Latrobe Ave
                            Skokie, IL 60077-3417




                            Luka Edward Zivkovic
                            2733 N Power Rd Ste 102
                            Mesa, AZ 85215-1683
